
The Director of the Office of Lawyers Professional Responsibility has filed a petition for disciplinary action and a supplementary petition for disciplinary action alleging that respondent Matthew David McCollister has committed professional misconduct warranting public discipline, namely: in one client matter, agreeing to a settlement without the client's knowledge or consent, forging the client's name on the settlement agreement without the client's knowledge or consent, making false statements to opposing counsel about the settlement agreement, neglecting the matter, and failing to communicate with the client; and neglecting a separate matter and failing to communicate with that client. See Minn. R. Prof. Conduct 1.2(a), 1.3, 1.4(a)(2)-(4), 4.1, 8.4(c)-(d). In mitigation of some of respondent's passive misconduct, respondent produced evidence that he suffered from a substance-use disorder during some of the misconduct, that he has successfully completed in-patient treatment, and that he has remained sober.
Respondent waives his rights under Rule 14, Rules on Lawyers Professional Responsibility (RLPR), withdraws his previously filed answer, and unconditionally admits the allegations in the petition and supplementary petition. The parties recommend that the appropriate discipline is a 90-day suspension followed by a period of supervised probation. The parties do not agree on the length of that probation. The Director argues it should be 2 years; respondent argues it should be 1 year.
The court has independently reviewed the file and approves the recommended suspension. The court further determines that 2 years is the appropriate length for respondent's probation.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED THAT:
1. Respondent Matthew David McCollister is suspended from the practice of law for a minimum of 90 days, effective 14 days from the date of this order.
2. Respondent shall comply with Rule 26, RLPR (requiring notice of suspension to clients, opposing counsel, and tribunals).
3. Respondent shall pay $900 in costs pursuant to Rule 24, RLPR.
4. Respondent shall be eligible for reinstatement to the practice of law following the expiration of the suspension period provided that, not less than 15 days before the end of the suspension period, respondent files with the Clerk of the Appellate Courts and serves upon the Director an affidavit establishing that he is current in continuing legal education requirements, has complied with Rules 24 and 26, RLPR, and has complied with any other conditions for reinstatement imposed by the court.
5. Within 1 year of the date of the filing of this order, respondent shall file with the Clerk of the Appellate Courts and serve upon the Director proof of successful completion of the written examination required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility. Failure to timely file the required documentation shall result in automatic suspension, as provided in Rule 18(e)(3), RLPR.
6. Upon reinstatement to the practice of law, respondent shall be subject to probation for 2 years, subject to the following terms and conditions:
*911(a) Respondent shall cooperate fully with the Director's Office in its efforts to monitor compliance with this probation. Respondent shall promptly respond to the Director's correspondence by its due date. Respondent shall provide to the Director a current mailing address and shall immediately notify the Director of any change of address. Respondent shall cooperate with the Director's investigation of any allegations of unprofessional conduct that may come to the Director's attention. Upon the Director's request, respondent shall provide authorization for release of information and documentation to verify compliance with the terms of this probation;
(b) Respondent shall abide by the Minnesota Rules of Professional Conduct;
(c) Respondent shall be supervised by a licensed Minnesota attorney, appointed by the Director, to monitor compliance with the terms of this probation. Respondent shall provide the Director with the names of four attorneys who have agreed to be nominated as respondent's supervisor within 2 weeks from the date the court's order imposing discipline is filed. If, after diligent effort, respondent is unable to locate a supervisor acceptable to the Director, the Director shall seek to appoint a supervisor. Until a supervisor has signed a consent to supervise, respondent shall on the first day of each month provide the Director with an inventory of active client files as described in paragraph (d) below. Respondent shall make active client files available to the Director upon request;
(d) Respondent shall cooperate fully with the supervisor's efforts to monitor compliance with this probation. Respondent shall contact the supervisor and schedule a minimum of one in-person meeting per calendar quarter. Respondent shall submit to the supervisor an inventory of all active client files by the first day of each month during the probation. With respect to each active file, the inventory shall disclose the client name, type of representation, date opened, most recent activity, next anticipated action, and anticipated closing date. Respondent's supervisor shall file written reports with the Director at least quarterly, or at such more frequent intervals as the Director may reasonably request; and
(e) Respondent shall initiate and maintain office procedures that ensure prompt responses to correspondence, telephone calls, and other important communications from clients, courts, and other persons interested in matters that respondent is handling, and that ensure that respondent regularly reviews each and every file and completes legal matters on a timely basis.
BY THE COURT:
/s/ David L. Lillehaug
David L. Lillehaug
Associate Justice
